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   8                         UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
 10                                    WESTERN DIVISION
 11
 12    HFC ACCEPTANCE, LLC, a                      Case No.: CV 23-7744-GW-AGRx
       California limited liability company,
 13
                         Plaintiff,                AMENDED ORDER TO SHOW
 14
                    v.                             CAUSE WHY DEFENDANTS
 15                                                AEZ RENT A CAR LLC, JHRC
       AEZ Rent A Car LLC, a New York              CORP., THE BAR, LLC, WCR
 16    limited liability company;
       ICR Group LLC, a New York limited           GROUP, LLC, YTS GROUP, LLC,
 17    liability company;                          AND YITZCHOK M. BIRNHACK
       JHRC Corp, a New York corporation;          SHOULD NOT BE HELD IN
 18    The Bar, LLC, a New York limited
       liability company;                          CIVIL CONTEMPT
 19    WCR Group, LLC, a New York
       limited liability company;
 20    YTS Group, LLC, a New York limited          Date: April 15, 2024
       liability company;                          Time: 8:30 a.m.
 21    Yitzchok M. Birnhack, an individual         Dept.: Courtroom 9D
       domiciled in New York,                      Place: United States District Court
 22                                                       350 West 1st Street,
                         Defendants.                      Los Angeles, CA 90012
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   1                The Motion of Receiver for an Order to Show Cause Why Defendants
   2   Should Not be Held in Contempt of the Court’s Amended Order Appointing
   3   Receiver and Issuing Preliminary Injunction in Aid of Receiver (the “Motion”)1
   4   came on for hearing at the above-referenced date, time, and place before the
   5   Honorable George H. Wu, United States District Judge presiding. Appearances
   6   were as noted on the record. The Court, having reviewed and considered the
   7   Motion and all pleadings and papers filed in support thereof, and oppositions and
   8   responses to the Motion, and good cause appearing therefor,
   9                IT IS ORDERED that:
 10                 1.   The Motion is granted as set forth herein;
 11                 2.   Defendants AEZ Rent A Car LLC, JHRC Corp. The Bar, LLC,
 12    WCR Group, LLC, YTS Group, LLC, and Yitzchok M. Birnhack (“OSC
 13    Defendants”) are ordered to deliver the HFC Financed Vehicles, HFC Financed
 14    Vehicle Documents and the HFC Financed Vehicle Devices (the “HFC
 15    Property”) to the Receiver and to otherwise comply with the terms of the
 16    Receivership Order within 72 hours of entry of this Order.
 17                 3.   OSC Defendants shall pay, jointly and severally, to the Receiver
 18    sanctions in the amount of (a) $500 per day for the first thirty (30) days after the
 19    date of service of the Order; and (b) $1,000 per day thereafter, until the date that
 20    all of the HFC Property is delivered to and received by the Receiver (the
 21    “Sanction Payments”). The Sanction Payments are due and payable on demand
 22    by the Receiver. The Receiver shall apply the Sanction Payments on account of
 23    the fees and costs incurred by the Receiver.
 24                 4.   The hearing on the Motion shall be continued to June 27, 2024 at
 25    8:30 a.m. in the event that further relief is necessary to compel compliance by the
 26    OSC Defendants with the Receivership Order.
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        The defined terms in this Order shall have the same meaning set forth in the
 28    Motion.
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   1                5.   The Receiver shall file a Status Report regarding this matter by June
   2   24, 2024.
   3                6.   The Receiver shall serve a copy of this Order on the OSC
   4   Defendants by electronic or regular mail at their last known address.
   5
   6                IT IS SO ORDERED.
   7
   8   DATED: April 18, 2024
   9                                               _______________________
 10                                                HON. GEORGE H. WU
                                                   United States District Judge
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